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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


TERRENCE J. HANCOCK, DAVID M. SNELTEN,             )
JOHN J. LISNER, WILLIAM H. COLLINS, DALE A.        )
BOLT, and TERRY BARNETT, as Trustees of the        )
HEALTH AND WELFARE FUND OF THE                     )
EXCAVATING, GRADING AND ASPHALT                    )
CRAFT LOCAL NO. 731,                               )
                                                   )
TERRENCE J. HANCOCK, JOHN J. LISNER,               )      CIVIL ACTION
DAVID M. SNELTEN, DALE A. BOLT, TERRY              )
BARNETT, and WILLIAM H. COLLINS, as Trustees       )      NO.
of the LOCAL 731, I.B. OF T., EXCAVATORS AND       )
PAVERS PENSION TRUST FUND,                         )      JUDGE
                                                   )
TEAMSTERS LOCAL UNION NO. 731                      )
EDUCATIONAL/SCHOLARSHIP FUND,                      )
                                                   )
LABOR/MANAGEMENT COOPERATION                       )
COMMITTEE TASK FORCE FUND,                         )
                                                   )
                                 Plaintiffs,       )
                                                   )
      vs.                                          )
                                                   )
BRITES CARTAGE, LTD., an Illinois corporation,     )
                                                   )
BRITES EQUIPMENT, LTD., an Illinois corporation,   )
                                                   )
                                 Defendants.       )


                                  COMPLAINT

      The Plaintiffs, TERRENCE J. HANCOCK, DAVID M. SNELTEN, JOHN J. LISNER,

WILLIAM H. COLLINS, DALE A. BOLT, and TERRY BARNETT, as trustees of the HEALTH

AND WELFARE FUND OF THE EXCAVATING, GRADING AND ASPHALT CRAFT LOCAL

NO. 731 and TERRENCE J. HANCOCK, JOHN J. LISNER, DAVID M. SNELTEN, DALE A.
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BOLT, TERRY BARNETT, and WILLIAM H. COLLINS, as Trustees of the LOCAL 731, I.B. OF

T., EXCAVATORS AND PAVERS PENSION TRUST FUND, TEAMSTERS LOCAL UNION

NO. 731 EDUCATIONAL/SCHOLARSHIP FUND, and LABOR/MANAGEMENT COOPERA-

TION COMMITTEE TASK FORCE FUND, by their attorneys, complaining of the Defendants,

BRITES CARTAGE, LTD., an Illinois corporation, and BRITES EQUIPMENT, LTD., an Illinois

corporation, allege as follows:

                                         COUNT I
                            Against Defendant Brites Cartage, Ltd.

       1.      This action arises under the laws of the United States and is brought pursuant to the

Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§1132, 1145 (herein-

after referred to as "ERISA"). Jurisdiction is based upon the existence of questions arising

thereunder, as hereinafter more fully appears.

       2.      Plaintiffs bring this action in their capacity as Trustees of the HEALTH AND

WELFARE FUND OF THE EXCAVATING, GRADING AND ASPHALT CRAFT LOCAL NO.

731 and the LOCAL 731, I.B. OF T., EXCAVATORS AND PAVERS PENSION TRUST FUND,

and LABOR/MANAGEMENT COOPERATION COMMITTEE TASK FORCE FUND, which are

"employee welfare benefit funds," and "plans," within the meaning of ERISA, Plaintiffs being the

now-acting fiduciaries thereof administering said Plans within this District.

       3.      Defendant is an "Employer" within the meaning of ERISA, which is obligated to

make fringe benefit contributions to Plaintiffs under the terms of the certain "Agreements and

Declarations of Trust," pursuant to which Plaintiff Funds are maintained and/or pursuant to the terms

of a collective bargaining agreement to which Defendant is obligated and to which the Excavating,



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Grading, Asphalt, Private Scavengers, Automobile Salesroom Garage Attendants and Linen and

Laundry Drivers Local Union No. 731, affiliated with the International Brotherhood of Teamsters,

is also obligated.

        4.      As an Employer obligated to make fringe benefit contributions to Plaintiffs under the

Agreements and Declarations of Trust, Defendant is specifically required to do the following:

                (a)    To submit to Plaintiffs for each month a report stating the names, social
                       security numbers, and total number of hours worked in such month by each
                       and every person on whose behalf contributions are required to be made by
                       Defendant to Plaintiffs; or, if no such persons are employed for a given
                       month, to submit a report so stating;

                (b)    To accompany the aforesaid reports with payment of contributions based
                       upon an hourly rate as stated in the applicable collective bargaining
                       agreement or agreements;

                (c)    To make all of its payroll books and records available to Plaintiffs for the
                       purpose of auditing same, to verify the accuracy of Defendant's past reporting
                       upon request made by Plaintiffs;

                (d)    To compensate Plaintiffs for the additional administrative costs and burdens
                       imposed by delinquency or untimely payment of contributions by way of the
                       payment of liquidated damages in the amount of ten (10%) percent of any and
                       all contributions which are not received by Plaintiffs for a particular month
                       prior to the 20th day of the succeeding month; effective May 9, 1991, the
                       amount of twenty (20%) percent of any and all contributions which are not
                       received by Plaintiffs for a particular month prior to the 20th day of the
                       succeeding month;

                (e)    To pay any and all costs incurred by Plaintiffs in auditing Defendant's payroll
                       records, should it be determined that Defendant was delinquent in the
                       reporting or submission of all contributions required of it to be made to
                       Plaintiffs;

                (f)    To pay Plaintiffs' reasonable attorneys' fees and costs necessarily incurred in
                       the prosecution of any action to require Defendant to submit its payroll books
                       and records for audit or to recover delinquent contributions;




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                   (g)    To furnish to Plaintiffs a bond with good and sufficient surety thereon, in an
                          amount acceptable to Plaintiffs, to cover future contributions due the
                          Plaintiffs.

        5.         Upon information and belief, Defendant’s President and sole owner is Robert J. Fox.

        6.         Defendant is delinquent and has breached its obligations to Plaintiffs and its

obligations under the Plans in the following respect:

                          Defendant has failed to make payment of contributions, liquidated damages,
                          interest and audit fees based upon an audit of the Defendant's payroll records
                          showing Defendant to have been delinquent in the payment of contributions
                          and to have reported hours worked by its Employees incorrectly to Plaintiffs
                          for the time period April 1, 2012 through December 31, 2014.

        7.         That upon careful review of all records maintained by Plaintiffs, and after application

of any and all partial payments made by Defendant, there is a total of $934,142.07, known to be due

Plaintiffs from Defendant, based upon the audit as set forth in Paragraph 5, and subject further to the

possibility that additional contributions and liquidated damages will come due during the pendency

of this lawsuit.

        8.         Plaintiffs have requested that Defendant perform its obligations as aforesaid, but

Defendant has failed and refused to so perform.

        9.         Defendant's continuing refusal and failure to perform its obligations to Plaintiffs is

causing and will continue to cause irreparable injuries to Plaintiffs for which Plaintiffs have no

adequate remedy at law.

        WHEREFORE, Plaintiffs pray:

                   (A)    That Defendant be enjoined and ordered to submit all delinquent monthly
                          contribution reports to Plaintiffs stating the information required to be stated
                          thereon, and to continue submitting such reports while this action is pending;




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               (B)     That judgment be entered in favor of Plaintiffs and against Defendant for all
                       unpaid contributions for the period * to date, liquidated damages, the costs
                       of auditing Defendant's records, and Plaintiffs' reasonable attorneys' fees and
                       Court costs necessarily incurred in this action as specified herein, or as
                       subsequently determined, all as provided for in the Plans and in ERISA;

               (C)     That Defendant be permanently enjoined and ordered to perform specifically
                       its obligations to Plaintiffs, and in particular, to continue to submit the
                       required reports and contributions due thereon to Plaintiffs in a timely fashion
                       as required by the Plans and by ERISA;

               (D)     That Plaintiffs have such further relief as may be deemed just and equitable
                       by the Court, all at Defendant's cost.

                                        COUNT II
                          Against Defendant Brites Equipment, Ltd.

       10.     This action arises under the laws of the United States and is brought pursuant to the

Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§1132, 1145 (herein-

after referred to as "ERISA"). Jurisdiction is based upon the existence of questions arising

thereunder, as hereinafter more fully appears.

       11.     Plaintiffs bring this action in their capacity as Trustees of the HEALTH AND

WELFARE FUND OF THE EXCAVATING, GRADING AND ASPHALT CRAFT LOCAL NO.

731 and the LOCAL 731, I.B. OF T., EXCAVATORS AND PAVERS PENSION TRUST FUND,

TEAMSTERS LOCAL UNION NO. 731 EDUCATIONAL/SCHOLARSHIP FUND, and

LABOR/MANAGEMENT COOPERATION COMMITTEE TASK FORCE FUND, which are

"employee welfare benefit funds," and "plans," within the meaning of ERISA, Plaintiffs being the

now-acting fiduciaries thereof administering said Plans within this District.

       12.     Defendant is an "Employer" within the meaning of ERISA, which is obligated to

make fringe benefit contributions to Plaintiffs under the terms of the certain "Agreements and



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Declarations of Trust," pursuant to which Plaintiff Funds are maintained and/or pursuant to the terms

of a collective bargaining agreement to which Defendant is obligated and to which the Excavating,

Grading, Asphalt, Private Scavengers, Automobile Salesroom Garage Attendants and Linen and

Laundry Drivers Local Union No. 731, affiliated with the International Brotherhood of Teamsters,

is also obligated.

        13.     As an Employer obligated to make fringe benefit contributions to Plaintiffs under the

Agreements and Declarations of Trust, Defendant is specifically required to do the following:

                (a)    To submit to Plaintiffs for each month a report stating the names, social
                       security numbers, and total number of hours worked in such month by each
                       and every person on whose behalf contributions are required to be made by
                       Defendant to Plaintiffs; or, if no such persons are employed for a given
                       month, to submit a report so stating;

                (b)    To accompany the aforesaid reports with payment of contributions based
                       upon an hourly rate as stated in the applicable collective bargaining
                       agreement or agreements;

                (c)    To make all of its payroll books and records available to Plaintiffs for the
                       purpose of auditing same, to verify the accuracy of Defendant's past reporting
                       upon request made by Plaintiffs;

                (d)    To compensate Plaintiffs for the additional administrative costs and burdens
                       imposed by delinquency or untimely payment of contributions by way of the
                       payment of liquidated damages in the amount of ten (10%) percent of any and
                       all contributions which are not received by Plaintiffs for a particular month
                       prior to the 20th day of the succeeding month; effective May 9, 1991, the
                       amount of twenty (20%) percent of any and all contributions which are not
                       received by Plaintiffs for a particular month prior to the 20th day of the
                       succeeding month;

                (e)    To pay any and all costs incurred by Plaintiffs in auditing Defendant's payroll
                       records, should it be determined that Defendant was delinquent in the
                       reporting or submission of all contributions required of it to be made to
                       Plaintiffs;




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               (f)     To pay Plaintiffs' reasonable attorneys' fees and costs necessarily incurred in
                       the prosecution of any action to require Defendant to submit its payroll books
                       and records for audit or to recover delinquent contributions;

               (g)     To furnish to Plaintiffs a bond with good and sufficient surety thereon, in an
                       amount acceptable to Plaintiffs, to cover future contributions due the
                       Plaintiffs.

       14.     Upon information and belief, Defendant’s President and sole owner is Robert J. Fox.

       15.     Defendant is delinquent and has breached its obligations to Plaintiffs and its

obligations under the Plans in the following respect:

                       Defendant has failed to make payment of contributions, liquidated damages,
                       interest and audit fees based upon an audit of the Defendant's payroll records
                       showing Defendant to have been delinquent in the payment of contributions
                       and to have reported hours worked by its Employees incorrectly to Plaintiffs
                       for the time period April 1, 2012 through May 31, 2015.

       16.     That upon careful review of all records maintained by Plaintiffs, and after application

of any and all partial payments made by Defendant, there is a total of $77,440.72, known to be due

Plaintiffs from Defendant, based upon the audit as set forth in Paragraph 14, and subject further to

the possibility that additional contributions and liquidated damages will come due during the

pendency of this lawsuit.

       17.     Plaintiffs have requested that Defendant perform its obligations as aforesaid, but

Defendant has failed and refused to so perform.

       18.     Defendant's continuing refusal and failure to perform its obligations to Plaintiffs is

causing and will continue to cause irreparable injuries to Plaintiffs for which Plaintiffs have no

adequate remedy at law.




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            WHEREFORE, Plaintiffs pray:

                        (A)         That Defendant be enjoined and ordered to submit all delinquent monthly
                                    contribution reports to Plaintiffs stating the information required to be stated
                                    thereon, and to continue submitting such reports while this action is pending;

                        (B)         That judgment be entered in favor of Plaintiffs and against Defendant for all
                                    unpaid contributions for the period * to date, liquidated damages, the costs
                                    of auditing Defendant's records, and Plaintiffs' reasonable attorneys' fees and
                                    Court costs necessarily incurred in this action as specified herein, or as
                                    subsequently determined, all as provided for in the Plans and in ERISA;

                        (C)         That Defendant be permanently enjoined and ordered to perform specifically
                                    its obligations to Plaintiffs, and in particular, to continue to submit the
                                    required reports and contributions due thereon to Plaintiffs in a timely fashion
                                    as required by the Plans and by ERISA;

                        (D)         That Plaintiffs have such further relief as may be deemed just and equitable
                                    by the Court, all at Defendant's cost.



                                                                           /s/ Laura M. Finnegan



Laura M. Finnegan
Attorney for the Plaintiffs
BAUM SIGMAN AUERBACH & NEUMAN, LTD.
200 West Adams Street, Suite 2200
Chicago, IL 60606-5231
Bar No.: 6210637
Telephone: (312) 216-2563
Facsimile: (312) 236-0241
E-Mail: lmfinnegan@baumsigman.com
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